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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION


MORKITER JONES                                                                         PLAINTIFF

VS.                                              CIVIL ACTION NO. 1:18-CV-193-MPM-DAS


JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI et al                                                 DEFENDANTS



 REPLY TO RESPONSE TO MOTION TO DISMISS UNDER RULE 4( c ), 4(m), 12(b)(4)
AND/OR RULE 12(b)(5)DUE TO DEFECTIVE AND/OR INSUFFICIENT PROCESS OR
SERVICE OF PROCESS AS TO INDIVIDUAL DEFENDANT JARED BOOTH AND
DISMISSAL UNDER RULE 12(b)(6) DUE TO STATE LAW SOVEREIGN IMMUNITY




       Jared Booth, by and through Counsel, submitted a Motion requesting the Court dismiss this

lawsuit against him pursuant to F. R. Civ. P. 4( c ),4(m), 12(b)(4) and/or 12(b)(5). Plaintiff filed a

Response to the Motion at docket #17 stating “Plaintiff agrees to dismissal of the individual

Defendant, Jared Booth.” Attached hereto is a proposed order of dismissal that has been agreed to

by all parties including Plaintiff and Co-Defendant City. Jared Booth requests entry of the attached

proposed order.


               Respectfully submitted, this the 28th day of March, 2019.


                                               /s/ Katherine S. Kerby
                                               Katherine S. Kerby, MSB # 3584
                                               on behalf of Jared Booth


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                                    CERTIFICATE OF SERVICE

           I, Katherine S. Kerby, attorney for Jared Booth hereby certify that I have this day served via

the ECF system the foregoing to all counsel of record for all parties that have entered an appearance

to date.


                  This the 28th day of March, 2019.

                                                         / s/ Katherine S. Kerby
                                                         Katherine S. Kerby, MSB# 3584




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